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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

In Re: Local TV Advertising Antitrust
Litigation, et al.
                                                  Plaintiff,
v.                                                             Case No.: 1:18−cv−06785
                                                               Honorable Virginia M.
                                                               Kendall
Hearst Television Inc., et al.
                                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 7, 2020:


        MINUTE entry before the Honorable Virginia M. Kendall. Parties contacted the
courtroom deputy and advised that they have no objections to appointments of lead
counsel and other leadership roles and they may stand. Status hearing set for 1/15/2020 is
stricken. Status hearing set for 4/6/2020 stands. Mailed notice(lk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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